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                                          #:6441



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.    SA CV 12-01623-DMG (JPRx)                               Date     February 2, 2015

 Title In Re Questcor Securities Litigation                                         Page     1 of 1


 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                              NOT REPORTED
              Deputy Clerk                                            Court Reporter

    Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
             None Present                                             None Present

 Proceedings: IN CHAMBERS—ORDER REFERRING MATTER TO MAGISTRATE
              JUDGE [199]


          On December 31, 2014, Defendant Questcor Pharmaceuticals Inc. filed a Motion for
 Evidentiary Sanctions against Lead Plaintiffs based on Lead Plaintiffs’ Objections and
 Supplemental Responses to Defendant’s Second Set of Interrogatories and their alleged failure to
 fulfill their discovery obligations in good faith. [Doc. # 199.] Pursuant to General Order 05-07,
 the Clerk’s Office is hereby directed to refer this matter to the Honorable Jean P. Rosenbluth,
 United States Magistrate Judge, for a report and recommendation.

 IT IS SO ORDERED.




 cc: Magistrate Judge Rosenbluth




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